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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION



                                      )
                                      (
JOHN L. BULLOCK,                      (
                                      )
                                      )
                                      (
            Plaintiff,                (
                                      )
                                      )
                                      (
vs.                                   (
                                      )      No. 10-2482-SHM-cgc
                                      )
                                      (
WORLD SAVINGS BANK, FSB,              (
                                      )
et al.,                               (
                                      )
                                      )
                                      (
            Defendants.               (
                                      )
                                      )
                                      (



                 ORDER GRANTING THE MOTION TO DISMISS
                     FILED BY THE CITY OF MEMPHIS
                                  AND
                      ORDER OF PARTIAL DISMISSAL



            On May 19, 2010, Plaintiff John L. Bullock, a resident of

Memphis, Tennessee, filed a pro se Petition for Action to Quiet

Title in the Chancery Court for the Thirtieth Judicial District at

Memphis against World Savings Bank, FSB; Wachovia Mortgage; Mary C.

Reeder, a Senior Vice President at Wachovia Mortgage; the City of

Memphis; Pamela Pope Johnson; and Melissa Palo. (Docket Entry

(“D.E.”) 1-1.) On June 24, 2010, Defendants World Savings Bank,

FSB, Wachovia Mortgage, and Reeder removed the case to federal

court pursuant to 28 U.S.C. § 1441. (D.E. 1.)

            On July 1, 2010, Defendant City of Memphis filed a motion

to dismiss the complaint pursuant to Fed. R. Civ. P. 12(b)(6).

(D.E. 5.) That motion stated, in pertinent part, that, “[i]n the

case at bar, the only allegation against the City is that the city
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has claimed an interest in the real estate at 3336 Durford Wood

Cove, in Memphis, Tennessee. . . . No further facts are alleged and

therefore no factual foundation for the claim against the City has

been alleged. In fact, the City has neither sought, nor is seeking

any interest in the above property. Additionally, the City is not

a party to any foreclosure proceedings between the Plaintiff and

Co-Defendants.” (D.E. 5-1 at 3.)

            Because Plaintiff did not respond to the motion to

dismiss, the Court issued an order on August 20, 2010, directing

him to show cause, within thirty (30) days, why the City’s motion

to dismiss should not be granted. (D.E. 13.) The order notified

Plaintiff that a “[f]ailure timely to comply with this order will

result in the dismissal of the Plaintiff’s complaint against the

City of Memphis, pursuant to Fed. R. Civ. P. 41(b), for failure to

prosecute.” (Id. at 3.)

            Plaintiff has not responded to the show cause order, and

the time set for response has expired. Therefore, the Court

DISMISSES the complaint against the City of Memphis for failure to

prosecute, pursuant to Fed. R. Civ. P. 41(b).

            IT IS SO ORDERED this 29th day of October, 2010.



                                           s/Samuel H. Mays, Jr.
                                          SAMUEL H. MAYS, JR.
                                          UNITED STATES DISTRICT JUDGE




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